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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 UNITED STATES,

              Plaintiff,                                  Criminal Action No.: 09-932 (JLL)

 v.                                                                    ORDER

 ANTHONY SUAREZ and VINCENT
 TABBACHINO,

               Defendants.


       Currently before the Court are: (1) a motion by Mr. Suarez to sever his case from that of

Mr. Tabbachino, (2) a motion by Mr. Suarez to strike surplusage in the indictment, (3) a motion

by Mr. Suarez to compel the Government to immediately produce all discovery required by Rule

16 and Brady, (4) a motion by Mr. Suarez requesting the right, at a future date, to make a motion

for a Starks hearing, (5) a motion by Mr. Tabbachino to compel a polygraph of Mr. Dwek, (6) a

motion by Mr. Tabbachino to admit the results of his polygraph examination in the trial, (7) a

motion by Mr. Tabbachino for discovery of certain items, and (8) a motion by Mr. Tabbachino to

sever counts five through seven of the Indictment from counts one to four. The Government also

made an application for reciprocal discovery. For the reasons set forth on the record at the July

27, 2010 hearing and in this Court’s corresponding Opinion,

       It is on this 26th day of August, 2010,

       ORDERED that Mr. Suarez’s motion to sever his case from that of Mr. Tabbachino is

DENIED; and it is further

       ORDERED that Mr. Suarez’s motion to strike surplusage in the indictment is DENIED

without prejudice to Mr. Suarez to re-submit the application no later than ten days prior to trial.

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Mr. Suarez must include, with any renewed application, a proposed summary of the case to be

read to the jury in lieu of providing the jury with a copy of the indictment; and it is further

        ORDERED that Mr. Suarez’s motion to compel the Government to immediately produce

all discovery required by Rule 16 and Brady is GRANTED; and it is further

        ORDERED that Mr. Suarez’s motion requesting the right at a future date to make a

motion for a Starks hearing is DENIED without prejudice; neither party shall file any additional

motions without prior leave of this Court; and it is further

        ORDERED that Mr. Tabbachino’s motion to compel a polygraph of Mr. Dwek is

DENIED; and it is further

        ORDERED that Mr. Tabbachino’s motion to admit the results of his polygraph

examination in the trial is DENIED; and it is further

        ORDERED that Mr. Tabbachino’s motion for discovery of certain items is MOOT; and

it is further

        ORDERED that Mr. Tabbachino’s motion to sever counts five through seven of the

Indictment from counts one to four is GRANTED; and it is further

        ORDERED that the Government’s motion for reciprocal discovery is GRANTED. The

defendants must begin providing all of their reciprocal discovery upon receipt of the

Government’s production of text messages of Mr. Dwek during three meetings between Mr.

Dwek and one or both of the defendants; and it is further

        ORDERED that the Clerk shall terminate Defendants’ motions (CM/ECF Nos. 24, 26).



                                               /s/ Jose. L. Linares
                                               UNITED STATES DISTRICT JUDGE




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